      Case: 1:04-cr-00253 Document #: 299 Filed: 04/04/06 Page 1 of 5 PageID #:891




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

UNITED STATES OF AMERICA,                              )
                                                       )
                                                       )
                          Plaintiff,                   )
                                                       )   No. 04 CR 253-9
          v.                                           )
WILLIAM FULLER III,                                    )   HONORABLE DAVID H. COAR
                                                       )
                                                       )
                          Defendant.                   )


                          MEMORANDUM OPINION AND ORDER


        Following a jury trial, Defendant William Fuller III (“Defendant”) was convicted of

conspiracy to distribute and to possess with the intent to distribute cocaine, in violation of 21

U.S.C. § 846 and 18 U.S.C. § 2, and of using a telephone to commit the felony described above,

in violation of 21 U.S.C. § 843(b). Before this Court is Defendant’s motion for a new trial. For

the reasons discussed below, Defendant’s motion is DENIED.



II.     BACKGROUND

        On November 30, 2005, Defendant proceeded to trial on a multi-count, second

superseding indictment charging eleven defendants with, in brief, conspiracy to distribute

cocaine and crack cocaine. On December 8, 2005, the jury found Defendant guilty of one

conspiracy count (Count One) and three telephone facilitation counts (Counts Three, Six, and




                                                 -1-
       Case: 1:04-cr-00253 Document #: 299 Filed: 04/04/06 Page 2 of 5 PageID #:892




Sixteen). On a special verdict form, the jury found that Defendant’s role in the conspiracy

involved in excess of 500 grams of a mixture containing cocaine.1



III.     STANDARD

         A district court should grant a motion for a new trial pursuant to Rule 33 of the Federal

Rules of Criminal Procedure “if the interest of justice so requires.” Fed. R. Crim. P. 33. Rule

33 motions are not favored and are granted in only the most extreme cases. United States v.

Linwood, 142 F.3d 418, 422 (7th Cir. 1998); United States v. Kamel, 965 F.2d 484, 490 (7th Cir.

1992). Courts have required new trials when “trial errors or omissions have jeopardized the

defendant’s substantial rights.” United States v. Reed, 986 F.2d 191, 192 (7th Cir. 1993).

Essentially, however,

                                                                                 United States v.

Reed, 875 F.2d 107, 113 (7th Cir. 1989) (internal citation omitted).



IV.      ANALYSIS

         Defendant argues that the Government failed to prove his guilt beyond a reasonable

doubt because the evidence showed that he and the leader of the alleged conspiracy, Rodney

Bew (“Bew”), were competitors not conspirators. According to Defendant, the evidence

established that the two men did not have a close relationship and never pooled money to buy

cocaine; they did not share customers and Bew never even tried to discover the identity of



         1
         The jury found that, as to Defendant, Count One involved no amount of cocaine base in
the form of “crack cocaine.”

                                                 -2-
    Case: 1:04-cr-00253 Document #: 299 Filed: 04/04/06 Page 3 of 5 PageID #:893




Defendant’s customers; Bew had no control over Defendant; and any relationship between the

two men was based on deception in that Bew always kept his supplier a secret and would often

sell Defendant diluted cocaine. Defendant argues this evidence established, at best, a buyer-

seller relationship. Consequently, the evidence was insufficient to sustain not only his

conspiracy conviction, but also the jury’s the special verdict and his conviction on the telephone

facilitation counts. Lastly, Defendant argues that he did not receive a fair and impartial trial, due

process of law, and equal protection of the law under the Fifth Amendment, and that this Court

erred in its evidentiary rulings during trial. Defendant does not elaborate on any of these final

grounds for a new trial.

       The Seventh Circuit has distinguished between a conspiratorial agreement and a buyer-

seller relationship as follows:

               To distinguish between a buyer-seller relationship and a conspiratorial agreement,
               we look for evidence of a prolonged and actively pursued course of sales, coupled
               with the defendants’ knowledge of and shared stake in the illegal venture. Factors
               considered in determining whether the association at issue amounts to a
               conspiracy include whether there was prolonged cooperation between the parties,
               a level of mutual trust, standardized dealings, sales on credit (or “fronting”), and
               the quantity of drugs involved. Although none of these factors is dispositive, if
               enough are present and point to a concrete, interlocking interest beyond individual
               buy-sell transactions, we will not disturb the factfinder’s inference that at some
               point, the buyer-seller relationship developed into a cooperative venture.

United States v. Suggs, 374 F.3d 508, 518 (7th Cir. 2004) (internal quotation marks and citations

omitted). “Guilt can be inferred by the circumstances and the conduct of the parties.” United

States v. Gardner, 238 F.3d 878, 879 (7th Cir. 2001).

       The evidence presented at trial–Bew’s testimony and several recorded telephone

conversations–could lead a jury to conclude that Defendant’s buyer-seller relationship with Bew




                                                 -3-
    Case: 1:04-cr-00253 Document #: 299 Filed: 04/04/06 Page 4 of 5 PageID #:894




evolved into a cooperative venture as outlined above.2 First, while the evidence established that

Defendant was a dealer with his own customers, a jury could infer that Bew had a shared stake in

Defendant’s illegal venture. As the recorded calls demonstrated, Bew expressed interest in

whether Defendant’s customers liked the cocaine Bew sold Defendant, and Bew sometimes

called Defendant to purchase cocaine when Bew’s supply ran low. Counts Three and Six

provide examples of the latter type of call. Second, as evidence of an established method of

payment, Bew testified that he would sometimes “front” Defendant by lending him cocaine and

taking payment seven to ten days later. In fact, Bew testified that he sold Defendant cocaine on

credit most of the time. Count Sixteen involves one such transaction: In the call, Bew seeks to

collect money owed to him by Defendant. Third, a jury could infer that Defendant and Bew’s

transactions were prolonged, actively pursued, and standardized. Bew testified that Defendant

bought cocaine from him at least every other week during a four to five month period and that, at

least three times during 2003, Defendant sold Bew cocaine. Finally, while Bew testified that he

did not trust Defendant, a jury could infer sufficient mutual trust from the fact that Bew fronted

drugs to Defendant. Thus, the evidence, viewed in light of the factors outlined in Suggs, does

not preponderate heavily against the conspiracy conviction or the telephone facilitation

conviction. Nor does the evidence preponderate heavily against the jury’s special verdict: Bew

testified that he sold at least 750 grams of cocaine to Defendant.




       2
         The jury in the instant case was given a buyer-seller instruction informing them that a
mere purchaser of cocaine is not a member of a conspiracy to distribute cocaine. The jury
nonetheless read the evidence in the record as indication that Defendant was more than a mere
buyer or seller.

                                                -4-
     Case: 1:04-cr-00253 Document #: 299 Filed: 04/04/06 Page 5 of 5 PageID #:895




       Defendant’s arguments about the deception inherent in his relationship with Bew, Bew’s

lack of control over him, and the absence of evidence that Bew pooled money with Defendant to

buy cocaine as Bew did with other conspirators, are unavailing. “To join a conspiracy . . . is to

join an agreement, rather than a group,” United States v. Townsend, 924 F.2d 1385, 1390 (7th

Cir. 1991) and, as the Government correctly notes, control and absence of deception are not

elements required to find a conspiracy. See generally United States v. Macedo, 406 F.3d 778,

791 (7th Cir. 2005) (stating elements). Finally, Defendant’s Fifth Amendment objections and

objections to this Court’s evidentiary rulings are neither developed nor supported; therefore, they

do not warrant a new trial.

       In sum, Defendant’s case is not the extreme one involving errors or omissions at trial.

Nothing presently before the Court suggests that the interest of justice requires a new trial.



V.     CONCLUSION

       For the foregoing reasons, Defendant’s motion for a new trial is denied.




                                              Enter:



                                              /s/ David H. Coar
                                              David H. Coar
                                              United States District Judge

Dated: April 4, 2006




                                                 -5-
